                                    UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
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                                                                       www.flsb.uscourts.gov
                                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                        Original Plan
                              ■   FIRST                                       Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                              Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Yisel Sanchez                                        JOINT DEBTOR:                                        CASE NO.:
     SS#: xxx-xx- 4692                                              SS#: xxx-xx-
     I.          NOTICES
                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                     be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                     on each line listed below in this section to state whether the plan includes any of the following:
       The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                            Included            ■   Not included
       partial payment or no payment at all to the secured creditor
       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                            Included            ■   Not included
       out in Section III
       Nonstandard provisions, set out in Section IX                                                                    ■   Included                Not included
    II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.   $250.00                   for months   1       to 40 ;

                B. DEBTOR(S)' ATTORNEY'S FEE:                                                  NONE         PRO BONO
             Total Fees:               $5,200.00               Total Paid:              $1,225.00         Balance Due:           $3,975.00
             Payable              $198.75          /month (Months 1           to 20 )
             Allowed fees under LR 2016-l(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                                  NONE
                A. SECURED CLAIMS:                     ■   NONE
                B. VALUATION OF COLLATERAL:                          ■      NONE
                C. LIEN AVOIDANCE                  ■   NONE
                D. SURRENDER OF COLLATERAL:                             ■    NONE
                E. DIRECT PAYMENTS                           NONE
                Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                    confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                    codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor                    Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)



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                                                                             Debtor(s): Yisel Sanchez                         Case number:

                           Name of Creditor                   Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                           Shellpoint Mortgage                2687                         19322 SW 119 Court, Miami, FL 33177
                        1. Servicing
                             World Omni Financial Corp 6738                                       2022 Toyota Camry
                        2.
                             World Omni Financial Corp 0445                                       2022 Toyota Rav 4
                        3.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                  ■ NONE

V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                                 NONE
               A. Pay               $26.25        /month (Months      1      to 20 )
                    Pay             $225.00       /month (Months 21          to 40 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                       ■   NONE
VI.         STUDENT LOAN PROGRAM                          ■   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                          ■   NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:
                    ■        Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                 before confirmation
                  Mortgage Modification Mediation


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                 Debtor                                                               Joint Debtor
  Yisel Sanchez                                                      Date                                                                    Date




                                                                   Date
     Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
      the contents of the plan have been
        reviewed and approved by the
                 Debtor(s).1

   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph IX.




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                                                               Debtor(s): Yisel Sanchez                         Case number:




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1This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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